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                                   6                                   UNITED STATES DISTRICT COURT

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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                  10    AMERICAN FEDERATION OF
                                        GOVERNMENT EMPLOYEES, AFL-CIO,
                                  11    et al.,                                                No. C 25-01780 WHA

                                  12                    Plaintiffs,
Northern District of California
 United States District Court




                                                                                               ORDER ON MOTION FOR
                                  13             v.                                            PRELIMINARY INJUNCTION BY
                                                                                               UNION PLAINTIFFS AND STATE
                                  14    UNITED STATES OFFICE OF                                OF WASHINGTON
                                        PERSONNEL MANAGEMENT, et al.,
                                  15
                                                        Defendants.
                                  16

                                  17

                                  18                                            INTRODUCTION

                                  19         Three groups of plaintiffs — private organizations, public-sector labor unions, and the

                                  20    State of Washington — challenge the Office of Personnel Management’s unlawful usurpation

                                  21    of other federal agencies’ authority to hire and fire their own employees. After holding that

                                  22    OPM’s recent directive to fire employees at other agencies was unlawful, the district court

                                  23    granted provisional relief, including an order requiring the reinstatement of employees at six

                                  24    federal agencies. That reinstatement order, however, was stayed by the Supreme Court. Since

                                  25    then, additional plaintiffs have joined the suit and seek additional relief, and an order held that

                                  26    the public-sector labor union plaintiffs have standing to seek provisional relief. This order

                                  27    rules on provisional relief as to those plaintiffs.

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                                   1                                        FINDINGS OF FACT

                                   2         In February 2025, the United States Office of Personnel Management unlawfully directed

                                   3    the mass termination of thousands of probationary employees in all federal agencies. OPM did

                                   4    not merely suggest such terminations — it directed them.

                                   5         First, OPM directed federal agencies to fire their probationary employees.

                                   6         In a January 20 memo to federal agencies, OPM directed each agency to identify all

                                   7    employees on probationary periods and send a list to OPM. (Dkt. No. 111-1 at 1). The memo

                                   8    explained: “Employees on probationary periods can be terminated during that period without

                                   9    triggering appeal rights to the Merit Systems Protection Board (MSPB)” (ibid.). In a February

                                  10    12 email, OPM directed agencies “to action those you know you wish to separate by the end of

                                  11    the day tomorrow, 2/13/2025, using the attached template letter,” and requested further “daily”

                                  12    progress reports “through at least the end of the week” (Dkt. No. 111-5 at 1).
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                                  13         At this time, OPM conducted conference calls with the Chief Human Capital Officer

                                  14    Council “every day” (Dkt. No. 188-1 at 63:13–17). OPM also held “probably about maybe 7

                                  15    to 15” individual calls with various chiefs of staff and other agency political appointees

                                  16    concerning probationary employees (Dkt. No. 188-1 at 65:19–66:2). Despite requests by the

                                  17    district judge, defendants have declined to place direct evidence of the contents of those calls

                                  18    into the record.

                                  19         In a February 14 email, OPM pushed the “action” deadline back, stating:

                                  20                 We have asked that you separate probationary employees that you
                                                     have not identified as mission critical no later than end of the day
                                  21                 Monday, 2/17. We have attached a template letter.
                                  22
                                        (Dkt. No. 111-2 at 1).
                                  23
                                             A “Forest Service Briefing Paper” circulated by its human resource management to
                                  24
                                        “Supervisor[s]/Leader[s]” stated:
                                  25

                                  26                 All federal agencies, including the Department of Agriculture,
                                                     were notified on February 12, 2025, by the Office of Personnel
                                  27                 Management (OPM) to terminate all employees who have not
                                                     completed their probationary or trial period. . . . OPM directed
                                  28                 agencies to separate Probationary employees starting 2/13/25 . . . .

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                                                     Based on this direction it is necessary to start providing notices of
                                   1                 separation to employees in probationary and trial period positions
                                                     starting 2/13/25.
                                   2
                                        (Dkt. No. 71 at 16 (emphasis added) (February 13, 2025)).
                                   3
                                             On February 13, the Department of Energy sent one or more termination letters stating:
                                   4
                                        “Per OPM instructions, DOE finds that your further employment would not be in the public
                                   5
                                        interest” (Dkt. No. 70-14 at 15 (emphasis added)).
                                   6
                                             That same day, a probationer at the Bonneville Power Administration (within the DOE)
                                   7
                                        received a termination letter that stated: “Per OPM instructions, DOE finds that your further
                                   8
                                        employment would not be in the public interest. For this reason, you are being removed from
                                   9
                                        your position with DOE and the federal civil service effective today” (Dkt. No. 39-4 at 10
                                  10
                                        (emphasis added)).
                                  11
                                             On February 14, a probationer terminated by the Foreign Agricultural Service asked the
                                  12
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                                        Department of Agriculture’s deputy CHCO, Crystal Harris, about the “specific details of my
                                  13
                                        performance that were evaluated and found to be insufficient” (Dkt. No. 39-6 at 5–6). The
                                  14
                                        response: “[A]gencies were directed to begin providing termination notices . . . beginning
                                  15
                                        immediately upon OPM notification” (ibid.).
                                  16
                                             On February 18, meanwhile, the National Science Foundation fired its probationers en
                                  17
                                        masse via Zoom. During that call, NSF officials stated: “We were directed last Friday
                                  18
                                        [February 14] by OPM to terminate all probationers except for a minimal number of mission
                                  19
                                        critical probationers” (Dkt. No. 18-9 at 27 (emphasis added)). When confronted by the
                                  20
                                        terminated probationers, the officials continued: “Up until Friday [February 14]. Yes. We
                                  21
                                        were told by OPM it was the agency’s discretion whether to remove probations or not. We
                                  22
                                        chose to retain them all” (id. at 26). But “late Friday night,” “[t]hey told us that they directed
                                  23
                                        us to remove probationers.” “[T]here was no limited discretion. This is not a decision the
                                  24
                                        agency made. This is a direction we received” (id. at 21 (emphasis added)). Asked if NSF had
                                  25
                                        at least attempted to negotiate with OPM to minimize the number of terminations, NSF
                                  26
                                        responded: “There’s no negotiation” (id. at 34). Significantly, as soon as an earlier order
                                  27

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                                   1    herein made clear that OPM had no such authority, NSF’s director re-hired nearly all those

                                   2    probationers.

                                   3          In a February 21 Internal Revenue Service “town hall,” IRS Chief Human Capital Officer

                                   4    Traci DiMartini stated:

                                   5                    I’m not sure why it’s happening . . . . Regarding the removal of
                                                        the probationary employees, again, that was something that was
                                   6                    directed from OPM. And even the letters that your colleagues
                                                        received yesterday were letters that were written by OPM, put
                                   7                    forth through Treasury, and given to us . . . . I cannot explain to
                                                        you why this has happened. I’ve never seen OPM direct people at
                                   8                    any agency to terminate.
                                   9    (Dkt. No. 39-5 at 8–9 (emphasis added)).

                                  10          She continued:

                                  11                    And our actions are being watched by OPM. So that’s, again,
                                                        something else that’s unprecedented. . . . Everything we do is
                                  12                    scrutinized. Everything is being looked at twice. Any changes
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                                                        that are made in our system that show any type of action that has
                                  13                    been deemed impermissible, we have to respond to why it
                                                        happened.
                                  14

                                  15    (id. at 7–8).

                                  16          On February 25, Tracey Therit, chief human capital officer for the Department of

                                  17    Veterans Affairs, testified under oath at a congressional hearing before the House Committee

                                  18    on Veterans Affairs:

                                  19
                                                        RANKING MEMBER TAKANO: So nobody ordered you to
                                  20                    carry out these terminations? You did it on your own?

                                  21                    MS. THERIT: There was direction from the Office of Personnel
                                                        Management.
                                  22
                                        (Dkt. No. 39-1 at 13 (emphasis added)).
                                  23
                                              On February 26, members of the Civilian Personnel Policy Council at the Department of
                                  24
                                        Defense stated by email: “In accordance with direction from OPM, beginning February 28,
                                  25
                                        2025, all DOD Components must terminate the employment of all individuals who are
                                  26
                                        currently serving a probationary or trial period” (Dkt. No. 39-4 at 14 (emphasis added)).
                                  27

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                                   1         In a March 6 sworn declaration filed in the District of Maryland and introduced into the

                                   2    record by plaintiffs, meanwhile, IRS Chief Human Capital Officer DiMartini stated:

                                   3                 I attended several virtual meetings with Trevor Norris and other
                                                     Human Capital Officers at Treasury agencies (which include the
                                   4                 Office of the Comptroller of the Currency, the Bureau of
                                                     Engraving and Printing, and the U.S. Mint) during which we
                                   5                 discussed the directive to conduct mass terminations of
                                                     probationary employees.
                                   6
                                                     ....
                                   7
                                                     Mr. Norris informed us that Charles Ezell, the Acting Director of
                                   8                 OPM, Amanda Scales, Mr. Ezell’s Chief of Staff, and Noah Peters,
                                                     were the individuals spearheading the termination of probationary
                                   9                 employees at OPM.
                                  10                 ....
                                  11                 Mr. Norris specifically instructed me and the other Human Capital
                                                     Officers at Treasury that OPM would not allow us to exempt
                                  12                 military veterans from the probationary terminations.
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                                  13
                                        (Dkt. No. 94-1 at 3–4 (emphasis added)).
                                  14
                                             An agency’s “decision” not to terminate was contingent on OPM approval via an
                                  15
                                        “exemptions process” (ibid.; Dkt. No. 188-1 at 87–88; 140:2–4).
                                  16
                                             After providing OPM with the required lists of employees and seeking exemptions, if
                                  17
                                        any, the federal agencies put OPM’s termination directive into practice, firing more than
                                  18
                                        24,000 probationary employees in three weeks.
                                  19
                                             Second, OPM directed agencies to fire those employees under the false pretense of
                                  20
                                        “performance.”
                                  21
                                             In early February, OPM disseminated a template termination letter to be used by all
                                  22
                                        agency chief human capital officers (Dkt. No. 87-1). The OPM template stated:
                                  23

                                  24

                                  25

                                  26

                                  27
                                        (ibid. (highlighting added)).
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                                   1          From IRS Chief Human Capital Officer DiMartini:

                                   2                  My colleagues and I asked Mr. Norris what the termination letter
                                                      for affected probationary employees should consist of, and they
                                   3                  informed me that OPM had drafted a letter, Treasury made a few
                                                      modifications, and that we were instructed to send this letter out.
                                   4

                                   5    (Dkt. No. 94-1 at 3–4).

                                   6          The IRS did not consider probationer performance:

                                   7
                                                      My office did not review or consider the actual job performance or
                                   8                  conduct of any IRS probationary employee when issuing the
                                                      termination notices. I also know that Treasury did not review or
                                   9                  consider the actual job performance or conduct of any IRS
                                                      probationary employee when issuing the termination notices. I
                                  10                  know this because this fact was discussed openly in meetings.
                                                      Practically speaking, it would take weeks or months to evaluate the
                                  11                  job performance of 6,700 probationary employees.

                                  12    (id. at 4).
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                                  13          The Department of Agriculture, for example, used the OPM template to terminate

                                  14    probationers “based on [their] performance” (Dkt. Nos. 18-5 at 11 (emphasis added); 181-1 at

                                  15    15–16). The Department of Agriculture’s deputy chief human capital officer stated OPM

                                  16    “directed the use of a specific template and language for the notice beginning immediately

                                  17    upon OPM notification” (Dkt. No. 39-6 at 6 (emphasis added)). The Department of

                                  18    Transportation informed probationers that “based on your performance you have not

                                  19    demonstrated that your further employment at the DOT FAA would be in the public interest”

                                  20    (Dkt. Nos. 18-17 (emphasis added); 181-1 at 12–13). The Department of Defense circulated

                                  21    the OPM template to its civilian personnel policy council members, “[a]s provided by OPM,

                                  22    and for your convenience” (Dkt. No. 39-4 at 15).

                                  23          On February 13, Leandra Bailey, a Physical Science Information Specialist for the Forest

                                  24    Service, was terminated (Dkt. No. 71). In her most recent performance review, she received

                                  25    the highest mark possible in every category (id. at 11). The OPM template she received

                                  26    nevertheless stated: “The Agency finds, based on your performance, that you have not

                                  27    demonstrated that your further employment at the Agency would be in the public interest” (id.

                                  28    at 13 (emphasis added)).
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                                   1          On February 18, Dr. Andrew Frassetto, a probationer terminated by the NSF, received the

                                   2    OPM template (Dkt. No. 18-9 at 38). In a February 13 performance review — five days before

                                   3    he was terminated “based on [his] performance” — Dr. Frassetto’s supervisor reported in a

                                   4    performance review:

                                   5
                                                        [H]is role [is] mission critical. Dr. Frassetto has been an
                                   6                    outstanding program director, and he has taken the lead role in
                                                        overseeing this important and complicated portfolio for the
                                   7                    division. Dr. Frassetto came to NSF with a unique skill set in
                                                        interdisciplinary scientific research . . . . He has already
                                   8                    demonstrated an outstanding ability to balance the various aspects
                                                        of his job responsibilities and is highly effective at organizing and
                                   9                    completing all his work in an accurate and timely manner.

                                  10                    ....

                                  11                    Dr. Frassetto’s work on this portfolio has been outstanding and he
                                                        has brought important experience to the role and has demonstrated
                                  12                    highly competent project management and oversight. He is a
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                                                        program director who has needed minimal supervision and eagerly
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                                  13                    seeks special assignments at higher levels of difficulty. He has
                                                        been an outstanding contributor to the division, directorate, and
                                  14                    agency.

                                  15    (id. at 7–8).

                                  16          NSF said: “The cause comes from boilerplate we received from OPM. The cause says

                                  17    that the agency finds based on your performance that you have not demonstrated that your

                                  18    further employment at the agency would be in the public interest” (id. at 30 (emphasis added)).

                                  19          Other agencies made slight tweaks to OPM’s language — but maintained the central

                                  20    pretense. For example, the Department of Health and Human Services substituted “fitness” for

                                  21    “performance,” telling those fired: “Unfortunately, the Agency finds that you are not fit for

                                  22    continued employment because your ability, knowledge, and skills do not fit the Agency’s

                                  23    current needs . . . .” (Dkt. No. 18-10 (emphasis added)). They otherwise stayed true to the

                                  24    OPM template, down to the footnotes (ibid.).

                                  25          The National Oceanic and Atmospheric Administration used the same “fitness” language.

                                  26    Dr. Alexandra Avila, a marine scientist from Port Angeles, Washington, began working at

                                  27    NOAA’s Olympic Coast National Marine Sanctuary (Olympic Coast NMS) in September 2024

                                  28    (Dkt. No. 156-3 ¶3). NOAA’s Office of National Marine Statuaries helped fund Dr. Avila’s
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                                   1    doctorate through a $180,000 scholarship. Following completion of her Ph.D., Dr. Avila

                                   2    completed two post-doctorate fellowships through Oregon Sea Grant, also a part of NOAA,

                                   3    and then joined NOAA’s Olympic Coast NMS, where she worked until she was fired on

                                   4    February 27 (id. ¶10). Dr. Avila’s most recent performance review — completed nine days

                                   5    before her termination — reported that she “is a highly functioning and valuable member of

                                   6    the OCNMS team and her first 4 months as OCNMS have been a resounding success!” (id. at

                                   7    10). Prompted to document any “Deficiencies, Areas of Concern,” or “Suggestions/Strategies

                                   8    for Improvement” by NOAA’s standardized review form, her supervisor responded “None”

                                   9    and “None” (ibid.).

                                  10            NOAA terminated Dr. Avila nine days later, using language similar to that used in HHS’s

                                  11    termination letters: “[T]he Agency finds that you are not fit for continued employment

                                  12    because your ability, knowledge and/or skills do not fit the Agency’s current needs” (id. at 7;
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                                  13    Dkt. No. 18-10). The termination letter otherwise followed the OPM script (Dkt. No. 156-3 at

                                  14    7–8).

                                  15            Krista Finlay, a natural resource management specialist with NOAA’s National Marine

                                  16    Fisheries Service (NMFS) “received the highest possible commendations her supervisor could

                                  17    make” in her most recent performance reviews, and her supervisors identified her as “mission

                                  18    critical for NOAA” in reports requested by OPM (Dkt. No. 70-9 ¶¶ 2, 10–11). Finlay was

                                  19    terminated on February 27 because she, like Dr. Avila and those at HHS, was “not fit for

                                  20    continued employment because [her] ability, knowledge and/or skills do not fit the Agency’s

                                  21    current needs” (id. ¶ 13). Her branch chief — who first realized Finlay was fired when she

                                  22    forwarded the termination email to him — believed a mistake had been made and assured her

                                  23    that “local NOAA officials would do everything in their power to advocate for” her (with no

                                  24    apparent success) (id. ¶ 15).

                                  25            The template was a sham, citing “performance” as the basis for the terminations in order

                                  26    to evade statutory and regulatory requirements, including, for example, the construction of an

                                  27    “order of retention” that honors veterans’ preference eligibility.

                                  28                                     *              *              *
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                                   1         The present action has come to include three distinct groups of plaintiffs: (1) private

                                   2    organizations, (2) public-sector labor unions, and (3) the State of Washington (Dkt. No. 90 ¶¶

                                   3    15–30).

                                   4         On February 23, the union and organizational plaintiffs moved for a temporary

                                   5    restraining order (Dkt. No. 18). On February 27, the undersigned granted a temporary

                                   6    restraining order on behalf of the organizational plaintiffs but held that this district court likely

                                   7    lacked jurisdiction as to the claims of the union plaintiffs (Dkt. No. 42, 45). On March 11,

                                   8    plaintiffs filed their second amended complaint, adding the State of Washington to the matter

                                   9    (Dkt. No. 90). On March 13, the undersigned extended the existing TRO and issued a

                                  10    preliminary injunction, again based only on the claims of the organizational plaintiffs,

                                  11    requiring six relief defendant agencies to offer reinstatement to probationary employees

                                  12    terminated on or about February 13 or 14 (Dkt. No. 120 at 51–52). Also on March 13, the
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                                  13    undersigned stated that the question of relief for both the union plaintiffs and the State of

                                  14    Washington would be considered following additional briefing (id. at 18, 57).

                                  15         The government timely appealed the March 13 injunction (Dkt. No. 119). Our court of

                                  16    appeals denied the government’s request for an immediate administrative stay (Dkt. No. 136)

                                  17    and emergency motion for a stay pending appeal (Dkt. No. 157). On March 24, the

                                  18    government petitioned the Supreme Court for an administrative stay. The Supreme Court

                                  19    granted the stay on April 8. OPM v. AFGE , No. 24A904, 2025 WL 1035208 (Apr. 8, 2025).

                                  20    The Supreme Court clarified that “[t]his order does not address the claims of the other

                                  21    plaintiffs, which did not form the basis of the District Court's preliminary injunction.” Ibid.

                                  22         This order concerns the remaining plaintiffs: The unions and State of Washington.

                                  23    Following further briefing on the issue, an order held that the district court has jurisdiction over

                                  24    the union plaintiffs (Dkt. No. 153) and issued an order to show cause why the relief extended

                                  25    to the private organizations (or more, or less) should not be extended to the union plaintiffs

                                  26    (Dkt. No. 154). It also set a briefing schedule for Washington’s motion for a preliminary

                                  27    injunction (Dkt. No. 164). The parties have finished all briefing, and oral argument was heard

                                  28    on April 9.
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                                   1          The unions assert that probationary employees have been terminated en masse at the

                                   2     following agencies, and request an injunction reversing those actions pending resolution of this

                                   3     litigation: the Departments of Agriculture, Commerce, Defense, Education, Energy, Health

                                   4     and Human Services, Homeland Security, Housing and Urban Development, Interior,

                                   5     Treasury, Transportation, and Veterans Affairs, the Environmental Protection Agency, General

                                   6     Services Administration, National Science Foundation, and Small Business Administration

                                   7     (Dkt. No. 161-1 at 2–3).

                                   8          For its part, the State of Washington seeks an injunction reinstating employees at: the

                                   9     Departments of Agriculture, Commerce, Defense, Education, Health and Human Services,

                                  10     Homeland Security, Housing and Urban Development, and the Interior (Dkt. No. 156 at 2).

                                  11          This order grants provisional relief but not as broadly as requested.

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                                  13                                                 ANALYSIS

                                  14          “A plaintiff seeking a preliminary injunction must establish that [1] he is likely to

                                  15     succeed on the merits, that [2] he is likely to suffer irreparable harm in the absence of

                                  16     preliminary relief, that [3] the balance of equities tips in his favor, and [4] that an injunction is

                                  17     in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “Crafting

                                  18     a preliminary injunction is an exercise of discretion and judgment, often dependent as much on

                                  19     the equities of a given case as the substance of the legal issues it presents.” Trump v. Int'l

                                  20     Refugee Assistance Project, 582 U.S. 571, 579 (2017). “[A] court need not grant the total

                                  21     relief sought by the applicant but may mold its decree to meet the exigencies of the particular

                                  22     case.” Id. at 580 (internal quotation marks omitted).

                                  23          1.      LIKELIHOOD OF SUCCESS ON THE MERITS.
                                  24                  A.       PLAINTIFFS’ ULTRA VIRES AND APA CLAIMS.
                                  25          First, OPM’s directive constituted an ultra vires act that infringed upon all impacted

                                  26     agencies’ statutory authority to hire and fire their own employees.

                                  27          “The ability to sue to enjoin unconstitutional actions by state and federal officers is the

                                  28     creation of courts of equity, and reflects a long history of judicial review of illegal executive
                                                                                          10
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                                   1     action, tracing back to England.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327

                                   2     (2015). “Equitable actions to enjoin ultra vires official conduct do not depend upon the

                                   3     availability of a statutory cause of action; instead, they seek a ‘judge-made remedy’ for injuries

                                   4     stemming from unauthorized government conduct, and they rest on the historic availability of

                                   5     equitable review.” Sierra Club v. Trump, 963 F.3d 874, 890–91 (9th Cir. 2020) (citing

                                   6     Armstrong, 575 U.S. at 327), vacated and remanded on other grounds (mootness), 142 S. Ct.

                                   7     46 (2021).

                                   8          No statute — anywhere, ever — has granted OPM the authority to direct the termination

                                   9     of employees in other agencies. “Administrative agencies [like OPM] are creatures of statute.

                                  10     They accordingly possess only the authority that Congress has provided.” Nat’l Fed’n of

                                  11     Indep. Bus. v. Dep’t of Lab., 595 U.S. 109, 117 (2022).

                                  12          Instead, Congress’s statutory scheme grants to each agency head the authority to manage
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                                  13     its own affairs, including the hiring and firing of employees. 5 U.S.C. § 3101 (“Each

                                  14     Executive agency, military department, and the government of the District of Columbia may

                                  15     employ such number of employees of the various classes recognized by chapter 51 of this title

                                  16     as Congress may appropriate for from year to year.”); 5 U.S.C. § 301 (“The head of an

                                  17     Executive department or military department may prescribe regulations for the government of

                                  18     his department, the conduct of its employees . . . .”); see also, e.g., 42 U.S.C. § 7231 (DOE) (re

                                  19     employees); id. § 7253 (re reorgs.); 38 U.S.C. §§ 303, 510 (VA); 10 U.S.C. § 113 (DOD).

                                  20          The same is true of OPM. Congress has vested its director with the authority to “secur[e]

                                  21     accuracy, uniformity, and justice in the functions of the Office,” “appoint[] individuals to be

                                  22     employed by the Office,” and “direct[] and supervis[e] employees of the Office.” 5 U.S.C.

                                  23     § 1103(a)(1)–(3). But that’s it. OPM did not have the authority to direct the firing of

                                  24     employees, probationary or otherwise, in any other federal agency.

                                  25          Defendants concede as much. Their opposition rests instead on the factual contention

                                  26     that OPM did not issue a directive. Its sanitized record provided in support — press releases, a

                                  27     feeble start to a yet-to-come “administrative record,” and the deposition of newly-appointed

                                  28     OPM Special Advisor Noah Peters — is unpersuasive.
                                                                                        11
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                                   1          For example, defendants point to a trio of OPM Memos to suggest that agencies made

                                   2     their own decisions. The first, issued on January 20, directed agencies to “identify all

                                   3     [probationary employees] and send a report to OPM listing [them]. In addition, agencies

                                   4     should promptly determine whether those employees should be retained at the agency” (Dkt.

                                   5     No. 37 at 1 (emphasis added)). The second, circulated on February 12, directed agencies to

                                   6     “action those you know you wish to separate by the end of the day tomorrow, 2/13/2025, using

                                   7     the attached template letter” (Dkt. No. 111-5 at 1 (emphasis added)). The third, sent out on

                                   8     February 14, “asked” the agencies to “separate probationary employees that you have not

                                   9     identified as mission-critical no later than end of the day Monday, 2/17” (Dkt. No. 111-2 at 1

                                  10     (emphasis added)).

                                  11          A mountain of evidence shows that the actual situation was not as these memos would

                                  12     make it seem.
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                                  13          The February 14 memo itself went on to note that “[t]hrough the exemptions process,

                                  14     agencies have identified the highest-performing probationers in mission critical areas” (id. at 2

                                  15     (emphasis added)). OPM Special Advisor Peters clarified that agencies went to OPM for

                                  16     “exemptions” from the en masse termination program during a three-week long “process.”

                                  17     The EEOC, FAA, and “some sort of nuclear inspection agency” requested, and received,

                                  18     “exemptions” from OPM (Dkt. No. 188-1 at 87:13–88:16). If the agencies exercised ultimate

                                  19     discretion, why did OPM make them apply for exemptions? The reason is obvious — OPM’s

                                  20     directive did not leave the agencies free to keep their probationers. Defendants respond that

                                  21     the exemption process was also just a suggestion: “But at any time an agency could have just

                                  22     said . . . we’re not going to do anything” (id. at 89:10–13).

                                  23          The record betrays defendants’ characterization of the exemptions process as a toothless

                                  24     formality. IRS Chief Human Capital Officer DiMartini, for example, attested that Treasury

                                  25     obeyed OPM’s denial of an exemption for veterans:

                                  26                  Mr. Norris specifically instructed me and the other Human Capital
                                                      Officers at Treasury that OPM would not allow us to exempt
                                  27                  military veterans from the probationary terminations.
                                  28
                                                                                        12
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                                   1       (Dkt. No. 94-1 at 4 (emphasis added)).

                                   2            The record also shows that NSF, which did try to “just ignore” OPM’s real-but-not-real

                                   3       exemption process was directed to — and did — fire. The NSF officials implementing the

                                   4       OPM directive stated: “Up until Friday [February 14]. Yes. We were told by OPM it was the

                                   5       agency’s discretion whether to remove probations or not. We were told by OPM it was the

                                   6       agency’s discretion whether to remove probations or not. We chose to retain them all” (Dkt.

                                   7       No. 18-9 at 26 (emphasis added). But “late, late Friday night,” “[t]hey told us that they

                                   8       directed us to remove probationers” (ibid. (emphasis added)). “[T]here was no limited

                                   9       discretion. This is not a decision the agency made. This is a direction we received” (id. at 21)

                                  10       (emphasis added). Defendants point to no other agency that “just ignored it” — only those that

                                  11       were granted an exemption (and DOJ, which Special Advisor Peters swore was both granted

                                  12       an exemption, and “just ignored it,” as convenient). * And even if some agencies refused to
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                                  13       follow OPM’s directive, the evidence is overwhelming that most felt compelled to and did

                                  14       follow it. An “ask,” followed by a directive, is a directive. A choice — you may choose to

                                  15       retain your probationers — followed by a caveat — if OPM grants your exemption request —

                                  16       is not a choice.

                                  17            Most of all, the government fails to rebut evidence drawn from a broad swathe of

                                  18       agencies proving that they were operating under OPM direction: “OPM directed agencies to

                                  19       separate Probationary employees starting 2/13/25” (USDA);“We were directed last Friday by

                                  20       OPM to terminate all probationers” (NSF); “Regarding the removal of the probationary

                                  21       employees, again, that was something that was directed from OPM” (Treasury); “There was

                                  22       direction from the Office of Personnel Management” (VA); “In accordance with direction

                                  23       from OPM . . . all DOD Components must terminate the employment of all individuals who

                                  24

                                  25

                                  26   *
                                         Peters initially claimed that DOJ requested, and received, an exemption from the termination
                                  27   directive (Dkt. No. 188-1 at 87:13–88:16). Later in his deposition, Peters’ recollection reversed
                                       course: “I think DOJ just said, ‘We’re not doing this,’ And I don’t even know that there was any
                                  28   reach back on or any response to that” (Dkt. No. 188-1 at 136:1–4 (emphasis added)). Peters did
                                       not otherwise identify a single agency that “just ignored” the exemption process.
                                                                                         13
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                                   1     are currently serving a probationary or trial period” (DOD) (emphases added). Defendants did

                                   2     not credibly rebut any of those statements (see Dkt. No. 188-1 at 11:15, 126:11–14, 130:1–15).

                                   3          Finally, on March 14, defendants submitted declarations from six of the twenty-two relief

                                   4     defendant agencies (Dkt. Nos. 127-1–7). Of the six, just two (the Departments of the Interior

                                   5     and Defense) stated, in identical terms, that they “reviewed all probationary and trial period

                                   6     appointees’ performances to determine which individuals to keep and which to terminate”

                                   7     (Dkt. Nos. 127-1 ¶ 7; 127-3 ¶ 7). The remaining four agencies (Treasury, Energy, Agriculture

                                   8     and the VA) omitted that claim from otherwise sound-alike declarations. These made-for-

                                   9     litigation declarations are unconvincing on their own and do not convincingly rebut the

                                  10     evidence above.

                                  11                  B.       ARTICLE III STANDING.
                                  12          “The ‘gist of the question of standing’ is whether the plaintiff has a sufficiently ‘personal
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                                  13     stake in the outcome of the controversy’ to ensure that the parties will be truly adverse and

                                  14     their legal presentations sharpened.” Washington v. Trump, 847 F.3d 1151 (9th Cir. 2017)

                                  15     (quoting Massachusetts v. EPA, 549 U.S. 497, 516 (2007)). A plaintiff must show that “it has

                                  16     suffered a concrete and particularized injury that is either actual or imminent, that the injury is

                                  17     fairly traceable to the defendant, and that it is likely that a favorable decision will redress that

                                  18     injury.” Massachusetts, 549 U.S. at 517.

                                  19          Both representational standing and direct organizational standing are at issue here.

                                  20          “An organization has standing to bring suit on behalf of its members if ‘(1) at least one of

                                  21     its members would have standing to sue in his own right, (2) the interests the suit seeks to

                                  22     vindicate are germane to the organization’s purpose, and (3) neither the claim asserted nor the

                                  23     relief requested requires the participation of individual members in the lawsuit.’” Fellowship

                                  24     of Christian Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th 664, 680–81 (9th

                                  25     Cir. 2023) (en banc) (quoting Fleck & Assocs., Inc. v. City of Phoenix, 471 F.3d 1100, 1105–06

                                  26     (9th Cir. 2006)).

                                  27          An organization has direct organizational standing, meanwhile, “where it establishes that

                                  28     the defendant’s behavior has frustrated its mission and caused it to divert resources in response
                                                                                          14
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                                   1     to that frustration of purpose.” E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 663 (9th

                                   2     Cir. 2021). “Of course, organizations cannot manufacture the injury by incurring litigation

                                   3     costs or simply choosing to spend money fixing a problem that otherwise would not affect the

                                   4     organization at all, but they can show they would have suffered some other injury had they not

                                   5     diverted resources to counteracting the problem.” Ibid. (internal quotation marks omitted); see

                                   6     also FDA v. All. for Hippocratic Med., 602 U.S. 367, 384–86 (2024). At bottom, the test is

                                   7     whether the challenged action has “directly affected and interfered with [the organization’s]

                                   8     core business activities.” Hippocratic Med., 602 U.S. at 395.

                                   9                           (i)     Union plaintiffs.
                                  10             Public union plaintiffs “each represent probationary employees who have been

                                  11     summarily fired, and falsely informed that their termination was based on performance” (Dkt.

                                  12     No. 90 ¶ 145). “Each Union Plaintiff has the core function of representing employees in
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                                  13     federal bargaining units in collective bargaining and providing counseling, advice, and

                                  14     representation to represented employees in the event of adverse employment actions” (id. ¶

                                  15     146).

                                  16             First, the union plaintiffs stand in the shoes of their members, some of whom have been

                                  17     injured due to termination under the pretext of “performance” (Dkt. No. 198-2). Termination

                                  18     is as clear an injury as any. Each terminated probationer has lost their livelihood, access to

                                  19     health insurance, and myriad other rights and privileges tied to their employment. For

                                  20     example, an unnamed international economist with the Foreign Agricultural Service (FAS),

                                  21     Veteran Doe, was let go on grounds of “performance” (Dkt. No. 18-5 ¶¶ 10, 20). Before

                                  22     joining FAS, he spent five years serving as a Navy Corpsman (id. ¶ 20). He was deployed

                                  23     twice, to Iraq and Southeast Asia, where he provided medical support to the Marine Corps

                                  24     (ibid.). Veteran Doe must now find more affordable housing for himself and his young son

                                  25     and expects to use credit and his retirement savings to cover his living expenses while he looks

                                  26     for work (ibid.). The government’s failure to timely furnish the standardized termination

                                  27     forms necessary to file for unemployment insurance has further delayed Veteran Doe’s access

                                  28     to financial aid (ibid.). “He thought he was protected as a veteran, by his status as a
                                                                                           15
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                                   1     [Presidential Management Fellow], and by his outstanding performance. He feels betrayed by

                                   2     the government because he went to bat for this country as a soldier serving two overseas

                                   3     deployments, but the government did not go to bat for him” (ibid.).

                                   4          The above is more than enough injury for standing. But there’s more still. The decision

                                   5     to terminate Veteran Doe under the pretense of “performance” will, unless redressed, continue

                                   6     to injure him for the rest of his working life. Each time he applies for a job, he will no doubt

                                   7     be asked if he has been terminated for performance, and, as it stands, he will have to concede

                                   8     that he has — no matter the truth of it. The decision to deploy false pretense also inflicted a

                                   9     grievous legal injury: It stripped Veteran Doe of the few statutory protections afforded to

                                  10     probationary employees, including hard-earned veteran preferences during reductions in force.

                                  11          The financial and legal injuries suffered by Veteran Doe are common to all terminated

                                  12     probationers. While this order cannot possibly document how those common injuries have
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                                  13     thrown each terminated civil servant’s life into disarray, as they did Veteran Doe’s, it

                                  14     recognizes that that was the outcome of OPM’s directive. For example, AFSCME Local 1653,

                                  15     which represents a bargaining unit of over 2,000 civil servants at the Federal Aviation

                                  16     Administration, reports:

                                  17                  One probationary employee who was terminated was diagnosed
                                                      with thyroid cancer the following day and will now lose her health
                                  18                  insurance in the face of this catastrophic diagnosis. Another
                                                      affected employee is a single mother of three that was already
                                  19                  waiting tables on the weekends to make ends meet. Now she has
                                                      lost her primary employment. Another employee was a federal
                                  20                  contractor working at the FAA for more than twenty (20) years,
                                                      who was recently promoted to the federal service in recognition for
                                  21                  her outstanding performance.
                                  22
                                         (Dkt. No. 18-17 ¶ 20).
                                  23
                                              These injuries are fairly traceable to each civil servant’s termination at the behest of
                                  24
                                         OPM. The unions have standing to seek redress on behalf of their members.
                                  25
                                              Second, the unions have themselves been harmed. Terminated union members cease to
                                  26
                                         pay their union dues — collected through voluntary payroll deductions — and thus reduce a
                                  27
                                         key source of operational funding (Dkt. Nos. 18-5 ¶ 23; 18-6 ¶ 20; 18-10 ¶ 19; 18-12 ¶ 17–18;
                                  28
                                                                                        16
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                                   1     18-14 ¶ 13). Diminished funds will in turn diminish union plaintiffs’ ability to provide

                                   2     services to members.

                                   3          These terminations have also frustrated the union plaintiffs’ ability to perform their core

                                   4     functions. For example, Kory Blake, an area field services director for the Eastern Region of

                                   5     the AFSCME, has been diverted from his typical work — organizing and representing a

                                   6     largely non-Federal workforce in Maryland, DC, and Virginia — to address the terminations of

                                   7     the union’s affected federal employee members (Dkt. No. 18-6 ¶ 17). Blake was not alone:

                                   8                  AFSCME has assigned several AFSCME International Union staff,
                                                      including myself, from various departments to address the issues
                                   9                  arising from the mass terminations and to support our members.
                                                      This includes three attorneys from AFSCME’s Office of the
                                  10                  General Counsel to assess the terminations, conduct legal research
                                                      on how to protect affected members’ legal rights, and engage in
                                  11                  legal advocacy; staff from AFSCME’s Data and Analytics
                                                      department to help gather and analyze member data to understand
                                  12                  the scope of the terminations and engage in member outreach;
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                                                      several additional staff from AFSCME’s Organizing and Field
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                                  13                  Services department not normally assigned to assist our federal
                                                      sector affiliates who are engaging directly with our affected
                                  14                  affiliates and members to provide support and coordinate
                                                      resources[.]
                                  15
                                                      ....
                                  16
                                                      [T]hree out of a total of eight attorneys in the AFSCME Office of
                                  17                  the General Counsel are spending an extensive amount of their
                                                      workday addressing the terminations. One of those AFSCME
                                  18                  attorneys is assigned to support AFSCME’s organizing efforts in
                                                      other states but has had to temporarily pause that important
                                  19                  representation work—which is work that grows union
                                                      membership— to focus on addressing the mass terminations on an
                                  20                  almost full-time basis.
                                  21
                                         (Dkt. No. 18-6 ¶ 16–17).
                                  22
                                              The president of AFGE Local 2883 — representing a bargaining unit of over 1,500 civil
                                  23
                                         servants at the Center for Disease Control — attests:
                                  24
                                                      Since HHS issued its probationary employee termination letters,
                                  25                  the Union has had to divert all its time and resources to engage
                                                      with the membership on this issue and address their concerns. The
                                  26                  substantial increase in emails, phone calls, and text messages
                                                      concerning the probationary employee terminations has diverted
                                  27                  time and resources that the Union dedicates to its mission of
                                                      advocating and negotiating for improved workplace conditions,
                                  28                  organizing new members, representing employees, and non-urgent
                                                                                        17
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                                                      administrative tasks to maintain the Union.
                                   1
                                                      The demands placed on my time to respond to member inquiries
                                   2                  about the mass termination have required me to set aside the
                                                      representation needs of other bargaining unit employees until the
                                   3                  evenings and weekends, have interfered with my ability to carry
                                                      out my tour of duty, and necessarily postponed collective
                                   4                  bargaining negotiations with CDC’s labor relations team,
                                                      scheduled for the week of February 17, 2025
                                   5

                                   6     (Dkt. No. 18-10 ¶¶ 14–15).

                                   7          Everett Kelley, AFGE’s national president, further attests:

                                   8                  Altogether, AFGE staff have been forced to spend literally
                                                      thousands of hours responding to the calls and emails from
                                   9                  members and affiliates related to probationary employee
                                                      terminations that would have otherwise been spent on other
                                  10                  matters.
                                  11                  For instance, the time spent responding to and addressing
                                                      probationary terminations have prevented AFGE’s field
                                  12                  representatives from filing grievances for affiliates, advising
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                                                      affiliates on other pressing matters such as responding to attacks on
                                  13                  collective bargaining and organizing unrepresented members.
                                  14
                                         (Dkt. No. 18-12 ¶ 10–11; see also Dkt. Nos. 18-5 ¶ 11–14; 18-10 ¶ 8–9).
                                  15
                                              The unions have established that OPM’s directive “directly affected and interfered with
                                  16
                                         [their] core business activities” and organizational mission. Hippocratic Med., 602 U.S. at
                                  17
                                         395. That injury is fairly traceable to OPM’s directive to terminate probationary civil servants
                                  18
                                         en masse. Union plaintiffs have direct organizational standing.
                                  19
                                              The government’s counters fall short.
                                  20
                                              First, the government argues that the unions lack standing because the second amended
                                  21
                                         complaint does not describe their organizational harms with the requisite specificity (Dkt. Nos.
                                  22
                                         160 at 9; 180 at 3). In one breath, the government demands that this injunction be decided
                                  23
                                         within the four corners of the complaint; in the next, it insists that the analysis must be limited
                                  24
                                         to a yet-to-come “administrative record”; in the third, it grounds its counterfactual in the
                                  25
                                         declaration and now deposition of OPM Special Advisor Noah Peters — not a part of the
                                  26
                                         complaint or the administrative record. The undersigned has considered the whole record in
                                  27
                                         crafting the present injunction.
                                  28
                                                                                         18
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                                   1          Second, the government argues that union plaintiffs do not have representational standing

                                   2     because they have not provided a complete accounting of each terminated probationer (Dkt.

                                   3     No. 180 at 5). The government did not provide union plaintiffs notice when it terminated their

                                   4     members, and when asked for a list of affected civil servants, several agencies failed to provide

                                   5     that information (Dkt. No. 18-5 ¶ 10; 18-6 ¶ 11). “As a general rule of representational

                                   6     standing, when it is clear and not speculative that a member of a group will be adversely

                                   7     affected by a challenged action and a defendant does not need to know the identity of a

                                   8     particular member to defend against an organization’s claims, the organization does not have to

                                   9     identify particular injured members by name.” Mi Familia Vota v. Fontes, 129 F.4th 691, 708

                                  10     (9th Cir. 2025).

                                  11          Third, the government argues that union plaintiffs cannot show representational standing

                                  12     because they “have not alleged . . . nor could they show, that all of their members: [] have been
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                                  13     affected by the terminations of probationary employees as not all their members are

                                  14     probationary employees” (Dkt. No. 180 at 5 (emphasis added)). True, union plaintiffs

                                  15     represent non-probationary employees unaffected by the OPM directive at issue here. So

                                  16     what? The Sierra Club was not asked to show that every last member sat in solitude and

                                  17     wonderment at Mineral King. See Sierra Club v. Morton, 405 U.S. 727 (1972). An

                                  18     organization establishes representational standing where it shows that some subset of its

                                  19     members have been, or imminently stand to be, injured. Friends of the Earth, Inc. v. Laidlaw

                                  20     Env't Servs. (TOC), Inc., 528 U.S. 167, 182–183 (2000). Union plaintiffs have done so here.

                                  21          Fourth, the government argues that union plaintiffs’ injury is not redressable in federal

                                  22     court: “Quite simply, reinstatement is not an available equitable remedy” (Dkt. No. 167 at 17

                                  23     (citing Sampson v. Murray, 415 U.S. 61, 83 (1974)). Because this order does not grant the

                                  24     remedy of additional reinstatement, the government’s argument is moot.

                                  25          Finally, the government attempts to re-litigate mootness, arguing that its compliance with

                                  26     the February 27 TRO rendered this action moot (Dkt. No. 167 at 18-19). The undersigned

                                  27     heard — and denied — that argument in a prior order (Dkt. No. 88). That analysis is

                                  28     incorporated here.
                                                                                        19
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                                                              (ii)    State of Washington.
                                   1
                                              Washington fails to make out standing based on the purported loss of federal services.
                                   2
                                         Washington argues, for example, that the termination of natural resource management
                                   3
                                         specialists at NOAA will result in NOAA’s inability to timely “writ[e] biological opinions to
                                   4
                                         permit the release of chinook salmon from WDFW and Washington Treaty Tribes hatcheries,”
                                   5
                                         as required by Section 7 of the Endangered Species Act (Dkt. No. 70-9 ¶ 5). Terminations at
                                   6
                                         NOAA’s Olympic Coast National Marine Sanctuary (Olympic Coast NMS), meanwhile, will
                                   7
                                         render NOAA an ineffective partner in the management of that area (Dkt. No. 70-11 ¶ 7–13).
                                   8
                                         Disruptions caused by terminations at FEMA, meanwhile, threatens the continued operation of
                                   9
                                         Washington’s Floodplains by Design program, which has spent some $280 million dollars to
                                  10
                                         restore 131 miles of river and protect 7,778 acres of land and is now receiving funding
                                  11
                                         applications for work through 2027 (Dkt. No. 70-2. ¶¶ 7–10). As to Housing and Urban
                                  12
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                                         Development, meanwhile, Washington asserts: “If termination of HUD staffing extends the
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                                  13
                                         delay in federal contracting, reimbursement, and release of grant funds, the County may have
                                  14
                                         to cancel contracts with service providers” (Dkt. No. 70-6 at 6 (emphasis added)). As to the
                                  15
                                         CDC: “The State continues to rely on data from the CDC relating to other highly contagious
                                  16
                                         diseases, including measles. The recent measles outbreak has reached Washington, and the
                                  17
                                         State relies on adequate staffing levels at CDC to help track and contain this disease if it
                                  18
                                         spreads” (Dkt. No. 70-7 at 6-7).
                                  19
                                              The present record does not support Washington’s assertion that the cessation or
                                  20
                                         diminishment of federal services constitutes an actual or imminent injury “fairly traceable to
                                  21
                                         the challenged action.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010). The
                                  22
                                         Supreme Court has “repeatedly reiterated that ‘threatened injury must be certainly
                                  23
                                         impending to constitute injury in fact,’ and that ‘[a]llegations of possible future injury’ are not
                                  24
                                         sufficient.” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013) (quoting Whitmore v.
                                  25
                                         Arkansas, 495 U.S. 149, 158 (1990)). The assertion that the termination of probationers at
                                  26
                                         NOAA and other agencies will necessarily result in the diminishment of the specific services
                                  27
                                         and partnerships identified by Washington rests on a speculative chain of contingencies. There
                                  28
                                                                                         20
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                                   1     is little record evidence to suggest that NOAA, FEMA, et. al., cannot function without the

                                   2     probationary employees at issue here. While Washington asserts that it “continues to rely on

                                   3     data from the CDC relating to []highly contagious diseases, including measles,” for example,

                                   4     the inference that the termination of probationers has rendered the generation of that data

                                   5     impossible is entirely speculative. The notion that delays at NOAA will interfere with

                                   6     Washington’s annual release of chinook Salmon likewise rests on the unsupported inference

                                   7     that there will be a delay, and that the termination of probationary employees will be the

                                   8     proximate cause of that delay.

                                   9          Washington also faces a redressability problem. NOAA, CDC, HUD, and others have

                                  10     been subject to deferred resignation programs and the widespread termination of non-

                                  11     probationary employees, neither of which are at issue here. What is to say that the

                                  12     reinstatement of probationary employees will adequately remedy the harms identified by
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                                  13     Washington or return each agency to what Washington believes to be “adequate staffing

                                  14     levels” (Dkt. No. 70-7 ¶ 11)? If, for example, NOAA has decided to reduce the testing

                                  15     capacity of the Pacific Marine Environmental Laboratory, will the return of probationary

                                  16     workers under court order remedy purported impending delays in sample turnaround? How

                                  17     will the Court, moreover, ensure that each probationer is not only rehired and returned to active

                                  18     duty, but is assigned to the specific tasks and teams identified by Washington? Such

                                  19     micromanagement of agency staffing is a problem.

                                  20          Washington has, however, established a legitimate financial injury. The state’s

                                  21     Employment Security Department reports that it saw a 470% increase in unemployment benefit

                                  22     claims from federal employees from February 13 to March 3, when compared to the same

                                  23     period in the prior year (Dkt. No. 70-8 ¶¶ 11, 13). Washington has established that at least

                                  24     some of those claimants were probationary employees. The state has expended considerable

                                  25     additional time and resources to process those employees’ unemployment insurance claims

                                  26     (Dkt. No. 70-8 ¶¶ 11, 13) (“Overall, the intake process is far more time-consuming for federal

                                  27     employee unemployment benefits claimants than for most claimants”). The diversion of

                                  28     resources necessary to service federal employees’ claims has delayed benefits payments to
                                                                                        21
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                                   1     Washingtonians and required Washington to expend additional funds from its Administrative

                                   2     Contingency Account and Employment Services Administrative Account (id. ¶¶ 15, 16).

                                   3     “A dollar of economic harm is [] an injury-in-fact for standing purposes.” E. Bay Sanctuary

                                   4     Covenant v. Trump, 950 F.3d 1242, 1267 n.5 (9th Cir. 2020) (quoting Carpenters Indus.

                                   5     Council v. Zinke, 854 F.3d 1, 5 (D.C. Cir. 2017)).

                                   6          The government counters that the Supreme Court “expressly held that indirect injuries are

                                   7     insufficient to create standing for a state to sue” in United States v. Texas (Dkt. No. 167 at 11

                                   8     (citing United States v. Texas, 599 U.S. 670, 674 (2023)).

                                   9          The government misstates United States v. Texas. “The holding of a case is not the same

                                  10     thing as a quotation from a case. The holding is the proposition of law which requires that the

                                  11     particular facts in that case produce the result.” United States v. Andrade-Larrios, 39 F.3d 986,

                                  12     990 (9th Cir. 1994).
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                                  13          In Texas, a cohort of states challenged new guidelines for immigration enforcement

                                  14     issued by the Department of Homeland Security, arguing that the guidelines “violated federal

                                  15     statutes that purportedly required the Department to arrest more criminal noncitizens pending

                                  16     their removal.” Texas, 599 U.S. at 673-74. Texas reaffirmed the well-established rule that

                                  17     parties do not have a judicially cognizable interest in the prosecution of others. Id. at 677. The

                                  18     government’s attempt to graft Texas onto the present dispute runs headlong into Texas itself:

                                  19                  And this case raises only the narrow Article III standing question
                                                      of whether the Federal Judiciary may in effect order the Executive
                                  20                  Branch to take enforcement actions against violators of federal
                                                      law—here, by making more arrests. Under this Court's Article
                                  21                  III precedents and the historical practice, the answer is no.
                                  22
                                         Id. at 684–85. It is unsurprising, then, that our court of appeals has already rejected this
                                  23
                                         argument. State v. Su, 121 F.4th 1, 13 n.5 (9th Cir. 2024).
                                  24
                                                      C.        IRREPARABLE HARM.
                                  25
                                              In Winter, the Supreme Court reversed a preliminary injunction based only on a
                                  26
                                         “possibility” of irreparable harm, explaining: “Issuing a preliminary injunction based on a
                                  27
                                         possibility of irreparable harm is inconsistent with our characterization of injunctive relief as
                                  28
                                                                                         22
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                                   1     an extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is

                                   2     entitled to such relief.” Winter, 555 U.S. at 22. The party seeking a preliminary injunction

                                   3     must “demonstrate that irreparable injury is likely in the absence of an injunction.” Winter,

                                   4     555 U.S. at 22. “[U]nsupported and conclusory statements regarding harm” are not

                                   5     enough. Herb Reed Enters., LLC v. Fla. Ent. Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir.

                                   6     2013).

                                   7                           (i)     The unions.
                                   8           There is much less need now for an order reinstating probationary employees than there

                                   9     was in March — when the district court did order reinstatement. On March 4, in response to

                                  10     this Court’s TRO, OPM re-circulated a revised version of the January 20 memo, which read:

                                  11                   Please note that, by this memorandum, OPM is not directing
                                                       agencies to take any specific performance-based actions regarding
                                  12                   probationary employees. Agencies have ultimate decision-making
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                                                       authority over, and responsibility for, such personnel actions.
                                  13

                                  14     (Dkt. Nos. 64-1 at 2; 188-1 at 149:11–21). On May 13, the district court issued a preliminary

                                  15     injunction requiring six relief defendants to reinstate their probationary employees. That same

                                  16     day, a separate preliminary injunction issued by a district court in Maryland required all

                                  17     remaining relief defendants, except NSF, to rehire their probationers. NSF, meanwhile, had

                                  18     rehired all probationers following this district court’s TRO. Yes, both district court orders

                                  19     were eventually stayed, but much good was done in the interim. Compliance reports submitted

                                  20     in this district court and in Maryland showed that relief defendants rehired their terminated

                                  21     probationers after having received the March 4 revised memorandum. So, if any reinstated

                                  22     employees are now terminated (yet again), it will be because the agency has made the decision

                                  23     to do so, not because OPM has directed it. The whole point of this lawsuit has been OPM’s

                                  24     ultra vires act — not terminations made wholly by agencies themselves.

                                  25           Union plaintiffs’ contention that they continue to face irreparable organizational harms

                                  26     falls short for the same reason. Just as there is little to suggest that agencies are still acting at

                                  27     the behest of OPM, there is little on the record to suggest that the unions’ core business

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                                   1     functions are still being frustrated by such terminations. Plaintiffs’ declarations attesting to

                                   2     such disruptions have by now grown stale.

                                   3                                 *            *               *

                                   4             Plaintiffs have, however, made out irreparable harm flowing from OPM’s template

                                   5     termination letter, and its pretense of “performance” based firings. In our circuit, the “loss of

                                   6     opportunity to pursue [one’s] chosen profession[] constitutes irreparable harm.” Arizona

                                   7     Dream Act Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014) (cleaned up); see Chalk v.

                                   8     U.S. Dist. Ct. Cent. Dist. of California, 840 F.2d 701, 709-10 (9th Cir. 1988). In Brewer,

                                   9     Arizona Governor Janice Brewer issued an executive order directing state agencies to prevent

                                  10     DACA recipients from becoming eligible for any state identification, including a driver’s

                                  11     license. Brewer, 757 F.3d at 1059 (internal quotations omitted). Plaintiffs, five individual

                                  12     DACA recipients and the Arizona DREAM Act Coalition, filed suit and moved for a
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                                  13     preliminary injunction. Ibid. Our court of appeals held that plaintiffs had “introduced ample

                                  14     evidence that Defendants’ policy causes them to suffer irreparable harm” by “limiting their

                                  15     professional opportunities.” Id. at 1068 (“Plaintiffs’ ability to drive is integral to their ability

                                  16     to work — after all, eighty-seven percent of Arizona workers commute to work by car. It is

                                  17     unsurprising, then, that Plaintiffs' inability to obtain driver's licenses has hurt their ability to

                                  18     advance their careers.”).

                                  19             Here, “performance” (or “fitness”) was a total sham, a pretense supplied by OPM via

                                  20     their template termination letter. As IRS Chief Human Capital Officer DiMartini explained, “it

                                  21     would take weeks or months to evaluate the job performance of 6,700 probationary

                                  22     employees” (Dkt. No. 94-1 at 4). OPM’s deadline, meanwhile, afforded federal agencies mere

                                  23     days. As a result, countless high-performing employees, including those highlighted above,

                                  24     were terminated through a lie. The terminations were so divorced from reality that one non-

                                  25     probationary USDA employee, who had “received two cash awards for her excellent

                                  26     performance” and was recognized in 2023 for “expanding U.S. agriculture exports through

                                  27     trade supporting initiatives” was wrongfully terminated because of “performance” on February

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                                   1     13 (Dkt. No. 18-5 at 8). USDA reversed course when she notified them that she was a full year

                                   2     removed from her probationary period.

                                   3             Termination under the false pretense of performance is an injury that will persist for the

                                   4     working life of each civil servant. In pursuing future employment, each will have to concede

                                   5     that they have been terminated based on performance. The stain created by OPM’s pretense

                                   6     will follow each employee through their careers and will limit their professional opportunities.

                                   7     As in Brewer, the irreparable nature of many probationers’ injury is heightened because

                                   8     “[s]etbacks early in their careers are likely to haunt Plaintiffs for the rest of their lives.”

                                   9     Brewer, 757 F.3d at 1068. The below injunction is narrowly tailored to address the ongoing

                                  10     harm made out by plaintiffs.

                                  11                           (ii)    State of Washington.
                                  12           Washington asserts that it faces irreparable harms from the “widespread impairment to
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                                  13     services provided to the public and fragile ecosystems in national parks and other public lands”

                                  14     (Dkt. No. 156-1 at 13). As explained with regards to standing, the link between the

                                  15     terminations at issue here and the purported impairment to services provided by the employing

                                  16     agencies is “premised on a speculative chain of possibilities.” Clapper, 568 U.S. at 410.

                                  17                   D.      THE BALANCE OF THE EQUITIES AND THE PUBLIC INTEREST.

                                  18           Where the government is a party, the balance of the equities and the public interest

                                  19     merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). The government argues that it has a

                                  20     “strong interest in maintaining its authority to manage its own internal affairs” (Dkt. No. 167 at

                                  21     28; see also Dkt. No. 180 at 15). That argument loses much of its force where plaintiffs show

                                  22     — as they have here — that the government is likely to have managed those affairs in an

                                  23     unlawful manner. “The preservation of the rights in the Constitution and the legality of the

                                  24     process by which government agencies function certainly weighs heavily in the public

                                  25     interest.” Nat’l Treasury Emps. Union v. U.S. Dep’t of Treasury, 838 F. Supp. 631, 640

                                  26     (D.D.C. 1993) (Judge Harold Greene). The assertion that plaintiffs have no interest in

                                  27     “restor[ing] or maintain[ing] employment at federal agencies at their preferred level and in

                                  28     their preferred manner,” meanwhile, mischaracterizes the relief sought by plaintiffs and is, in
                                                                                           25
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                                   1     any event, moot considering the scope of the relief granted (Dkt. No. 180 at 15).

                                   2

                                   3                                       PROVISIONAL RELIEF

                                   4

                                   5     Provisional relief is hereby granted as follows:

                                   6
                                                      1. Defendants OPM and Charles Ezell are enjoined from
                                   7                     ordering, directing, or telling any other federal agency to
                                   8                     terminate the employment of any federal employee or group
                                                         of federal employees.
                                   9
                                                      2. All relief defendant agencies are enjoined from following any
                                  10                     OPM order or direction to fire any agency employee.
                                  11                  3. All relief defendant agencies are enjoined from any further
                                                         use of the OPM template termination letter provided by OPM
                                  12
                                                         — including any altered or modified versions.
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                                  13
                                                      4. All relief defendant agencies who used the OPM template
                                  14                     termination notice — or variation thereof — shall provide
                                                         recipients with a written statement, directed to the employee
                                  15                     individually, stating that their termination was not
                                                         “performance” or fitness based but was made as part of a
                                  16                     government-wide mass termination. This shall be done by
                                  17                     MAY 8, 2025.

                                  18                  5. If a particular termination was in fact carried out after an
                                                         individualized evaluation of that employee’s performance or
                                  19                     fitness, the Chief Human Capital Officer (or equivalent) of
                                                         that agency may instead submit, by MAY 8, 2025, AT NOON, a
                                  20                     declaration, under oath and seal, stating so and providing the
                                                         individual reasoning underpinning that termination.
                                  21

                                  22                  6. Each Chief Human Capital Officer (or equivalent) at the
                                                         relief defendant agencies shall acknowledge, in writing,
                                  23                     having received and read this order. Such acknowledgements
                                                         shall be filed with the Court by MAY 8, 2025, AT NOON.
                                  24
                                                      7. Nothing in this order prohibits any federal agency from
                                  25                     terminating any employee so long as the agency makes that
                                  26                     decision wholly on its own, does not use the OPM template
                                                         termination notice, and is otherwise in compliance with
                                  27                     applicable law.

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                                   1           The government requests a security pursuant to Rule 65(c), which provides that the court

                                   2     “may issue a preliminary injunction or a temporary restraining order only if the movant gives

                                   3     security in an amount that the court considers proper to pay the costs and damages sustained by

                                   4     any party found to have been wrongfully enjoined or restrained.” The government does not

                                   5     provide any insight into the purported costs and damages it may sustain. “The district court

                                   6     retains discretion ‘as to the amount of security required, if any.’” Diaz v. Brewer, 656 F.3d

                                   7     1008, 1015 (9th Cir. 2011) (quoting Johnson v. Couturier, 572 F.3d 1067, 1086 (9th

                                   8     Cir.2009)). In Diaz, the district court granted a preliminary injunction “to prevent a state law

                                   9     from taking effect that would have terminated eligibility for health-care benefits of state

                                  10     employees’ same-sex partners.” Id. at 1010. Our court of appeals affirmed the district court’s

                                  11     decision not to require a bond. Id. at 1015.

                                  12           The undersigned finds that security is appropriate in the amount of one dollar per union
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                                  13     plaintiff.

                                  14

                                  15           IT IS SO ORDERED.

                                  16

                                  17     Dated: April 18, 2025.

                                  18
                                                                                                 WILLIAM ALSUP
                                  19                                                             UNITED STATES DISTRICT JUDGE
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